      Case 2:10-cr-00578-APG-GWF Document 6 Filed 12/13/10 Page 1 of 17




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Fl'ank H.M ccarthy                 United StatesC ourthousc
U.S,M agistrateJudge                Tulsa,Oklahoma74103                          (9l8)699-4760


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       R E: U SA v.L inda Livolsi
              ND/OK CaseNo.10-mj-156-FHM
              Y our C ase N o.2:10-c1--578

Dear Clerk:

        In com pliantcw ith Fed.R .C rim .P.5,Iam enclosing the originaldocum entsretained
in the above-captioned case,and a copy ofthis Courtfs docketsheet.

       Please acknow ledge receipton the enclosed copy ofthis letter and return the copy in
thc enclosed,self-addressed envelope.


                                                  V ery truly yours,


                                                  PHIL LOM BA          1,CLERK

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A ssigned to:M agistrate Judge Frank H
M ccarthy

 Defendant(1)
 Linda Livolsi                                represented by Anthony Lee Allen
                                                             Graham A llen & Brow n PC
                                                             427 S BO STON A V E S'I-E 355
                                                             TULSA ,OK 74103
                                                             918-948-6171
                                                             I7ax:800-460-3446
                                                             Email:tony@ lawtulsa.com
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    Plaintiff
    USA                                           represented by Ryan Souders
                                                                 United StatesAttorney'sOffice(Tulsa)
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                                                                 TULSA,OK 74 l19-1013
                                                                 918-382-2700
                                                                 Fax:9180560-7954
                                                                 Email:ryan.souders@ usdoj.gov
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    w aiversextcutedand tiled: O ofIndictment;O ofPreliminanzExam;C)ofDetention Hearing; ofRule5Hearings
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    D Government'sMotionforDettntionandDetentionHearirlgfiledinopencourt
    D ArraignmentheldandDefendantpleadsNotGuilty;Courtacceptsplea;D Schedulingdatestobemailedtocounsel
    D Initia)Appearancecontinuedto:                    .--                at          a.
                                                                                       m./p.m.
    C1Arraignmentschedulcd:                                               at          a.m./p.m.
    D DetentionHearingscheduled:                                          at          a.m.
                                                                                         /p.m.
    D PreliminaryExam scheduled:           .-          at          a.m./p.
                                                                         m.
    D DefendantrcmandedtocustodyofU.S.Marshal: O Ptndingfurtherpro eeding;D P#ndingreleaseonbondfortreatment
                                                        .
                                                                     ?                             ?
    AdditfcnalM irltttrs;                                                                     .
          v   jy,                      .. ..y/                 .,              .
              C'riminalInformationSheet                                                                           CR-24(9210)
            Case 2:10-cr-00578-APG-GWF Document 6 Filed 12/13/10 Page 11 of 17

                                      N ITED STATES lST CT OURT
                                         N O RTIIERN D ISTRICT O F O K LA H O M A
    United StatesofAm erica

                        Plaintiff,

    vs.                                                                 CaseNo.lo-mj-156-FHM
    LindaLivolsi,

                        Defendant.

                                                       APPEARA NCE BO ND

              N on-surety:           1,thc undersigned Defendantacknow ledge thatland my .,.

              Surety: We theundersigned jointlyandseverallyacknowledgethatweandour...
    personalrepresentatives,jointlyandseverally,areboundtopaytotheUnitedStatesofAlnericathesum 01
                                                                                                -$25,000.00,
    alldtherehasbeen deposited intheRegistryofthe courtthesum of$incashor.
               The conditions ofthisbond are thatDefendantisto appearbefore thiscourt,and atsuch otherplaccsas
    Defendantmay be required to appear.in accordancew ith any and aIlordersand dîrectionsrelating to Detkndant's
    allpearancelnthiscase incltlding appearanceforviolationofacondition ofDefendant'srcleaseasm aybeordcred or
    ntltitied by thisCourtorany otherUnitcdStatesD istrictCourttowhich Defendantmaybeheldtoanswerorthecause
    transferred. Defendantshallabidebyanyjudgmententeredinsuchamattcrbysurrendcring to serveanysentence
    inlposedandobeyinganyorderordirectioniaconnectionwithsuchjudgment.
              ltisagreedandunderstoodthatthisisacontinuingbond(includinganyproceedingonappealorreview)which
    shallcontinlleuntilsuch tim easthe undersigncd areexoneratcd.

             IfDelkndantappearsasorderedornotified andotherw iseobeysandperform sthetbregoingconditionsofthis
    btlnd.thisbond isto bevoid butit-Dcfendantfailsto obeyorperform any oftheseconditions paym entoftheam ount
    o1'thisbond shallbedue forthw ith. Forfeiture ofthisbond tbrany breach ofitsconditionsm ay bedeclared by any
    United StatesD istrictCourthavingcognizanccoftheaboveentitledmatteratthetim eofsuchbreachand ifthebond
    isforfeitedandiftheforfcitureisnotsctasidcorrcmittedjudglnentmaybeentereduponmotioninsuchlJnitedStates
    DistrictCourtagainsteachtheundersignedjointlyandseverallyfortheamountabovestated togetherwithinterestand
    costs,and execution m ay be issued and paymentsecured asprovided by the FederalltulesofCrim inalProcedureand
    any therlawsofthe Un' States.
                                              '
                                               N
    ,7
    ,
    .                                              '     Surety'sSignattlre:
'
        ,
        .
        - a Livolsi                                      S
        Cl                                                urety'sAddrcss'
                                                                        .
          eveland,O K

                                                         Surety'sPhone #:




                                                             Frank 1'1.M ccarthy
                                                             United States M agistratc Judgtt




    AllpearanceBond                                                                             A0-98Mtlditied(3/06)
      Case 2:10-cr-00578-APG-GWF Document 6 Filed 12/13/10 Page 12 of 17



                           N ITED STATES D ISTRICT C OURT
                              N O RTIIERN DISTRICT O F O KLA H OM A

Lnited StatesofA m erica,

                   Plaintit-
                           f,

vs.                                                         CaseNo.1()-mj-l56-Fl-IM
Linda Livolsi,

                   D efendant.


                           O RDER SETTING CO NDITIO NS O F RELEASE

        IT IS ORDERED thatDefendallt'sreleaseissubjecttothefollowingconditiolls:
        (1)      Defendantshallnotcolnmitany offenseinviolationoffederal,stateorloeallaw whileon
                 release in this case.

        (2)      Defendantshallilnmediately advise thecourt,defense counseland the U.S.attorney in
                 writing ofany change in addressand telephone number.

        (3)      DefendantshallappearatalIproceedingsasrcquired and shallsurrenderasdirected for
                 serviceofany sentence imposed. DefendantsllallIlextappearat (ifblank,you willbe
                 notified):
                  Place:           US DistrictCourtofN evada
                                   333 LasVegasBlvd.South,lS'Floor
                                   LasVegas,NV 89101-7065
                                   Courtroom 3C

                  O n:             1-7-1lat3:00 p.ln.

                  Before:          M agistrate Judge Lawrence R.Leavitt

        (4)      The Defendantmustcooperate in the collection ofa DNA sample ifthe collection is
                 authorized by U.S.C.j 14l35a.
              RELEASE O N PERSO NAL RECOG NIZANCE OR UNSECURED BO ND

        IT IS FURTH ER O RDERED thatthe Defendantbe released provided that:

(X)     (4)      Defendantpromisestoappearatallproceedingsasrequiredandtosurrenderforserviceof
                 any sentence ilnposed.

(X)     (5)      Defelldantexecutesa Unsecured bondbindingDefendanttopaytheUnitedStatesthestlm
                 ofTwentv-FiveThousandandNo/l00-------($25.000.00)intheeventofafailuretoappcar
                 asrequired,orto stlrrenderasdirected forservice ofany sentence imposed.



OrderSettingc'onditionsofReleasc                                                 A0-199Modil
                                                                                           ied(7/09)
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                              ADDITIO NAL CONDITIONS O F RELEASE

       Upon tinding that release by one of the above methods wiIInot by itself reasonably assure
Defendant'sappearanceand thesafety ofotherpersonsinthecomlntlnity,itisFURTH ER O RDERED that
Defendant'srelease isstlbiecttotlleconditionsmarkedbelow:
()       (6)     Thedefendantisplaced inthecustodyof:
                 Nam e:
                 Address:

                 Phone:

                 whoagrees(a)to stlpervisethcdefendantinaccordancewith aIlconditionsofrelease,(b)
                 to use every effol-tto assure the appearallce of the defendant at aII scheduled coul
                                                                                                    4
                 proceedings,and(c)tonotifythecourtilnmediately intheeventthedefendantviolatesany
                 conditionsof-release ordisappears.

                 Signed:
                                   Custodian orProxy

         (X)     (7)      DEFENDANT '    W ILL:
         (X)     (a)      reportasdirectedbytheU.S.ProbationOf-l   ice.
         (X)     (b)      abide by the following travelrestrictions:Travelis restricted to thc Northcrn
                          DistrictofOklaholna unlessperlnission to travelotltsidethatdistrictisgranted in
                          advance from the U.S.Probation Oftice.
                          ( )toincltlde:
        (X)      (c)      allow the U.S.Probation Ofticcrto visitthc home placc ofwork ()rany placc
                          deelned necessary to ellsuretlle conditionsofrelease are notviolated.
        ()       (d)      successl-
                                  ully participateinaprograln ortestingandtreatlnent(to includeinpatiellt
                          ifnecessary)fordrugandalcoholabuse,asdirected bytheU.S.ProbationOffice.
                          Ifapositiveurinalysisoccursw hileonpretrialrelease,Defendantshallimmediately
                          surrenderllis/llerdriver'sIicenseto theU .S.Probation O #-
                                                                                   Gce and Delbndantshall
                          notdriveuntilreinstatemcntisordered byajudicialoffscer.
        ()       (e)      I
                          1Oalcoholuse.
        ()       (9       nottlseortlnlawfully possessanarcoticdrug andothercontrolIed substancesunless
                          prescribed by a medicalpractitioner.
        ()       (g)      attllediscretionoftheU.S.ProbationOffice,successfullyparticipateinaprogram
                          ofmedicaland/orInentalhealthtreatment(to includeinpatientifnecessary).
        (X )     (h)      surrenderany passportwithin(3)threeworkingdaysand obtainnonew passport.
        (X )     (i)      notpossessafirearm,destructivedevice,orotherdallgerousweapon.
        ()       U)       stlccessfullyparticipateinthe l-lomeConfsnementProgralnto includeeledronic
                          monitoring. The entire costofthe program willbe paid by the Defendant/u .S.
                          Probation O l
                                      -fice. Defendantmay be removed from electronic monitoring,and be
                          rcquired to successfully participate in an inpatient substance abuse treatlnent
                          prograln, at the discretion of tlle U.S. Probatitln Office. Upon com pletion,
                          Defcndantwillbe placed back ol1the Holne ConfinelnentProgram .

        ()       (k)     avoidcontactwiththefollowingnamedpersons:
        ()       (I)     maintainoractivelyseekelnployment.
        (X')     (m)     adviseanypossiblethird partieswho Inay beatriskbecatlseofyotlrpastcriminal
                         convictionts)and/orthechargedoffbnse.
        ()       (11)    abidebythectlrrentconditionsofsupervision.

OrderSettingConditions01'Release                  --2 --                             AO-l9951oditicd(7/09)
      Case 2:10-cr-00578-APG-GWF Document 6 Filed 12/13/10 Page 14 of 17


        ()       (o)      executeabond oran agreementto forfeit,upon failingto appearasrequired,the
                          following sum ofmoney ordesignated property:

        (X)      (p)      FINANCIAL CONDITIONS:
        ()       (l)      discloseanyandaIltinancialinformationandbusinessrecords,toincludeexecution
                          of a Release ofFinancialInformation form ,as requested by the U.S.Probation
                          Ofticcr.
        ()       (2)      notwork directly orindirectly in any business,profession,orself-employment
                          engaged in tlle offer, sale, purchase, trade, brokering, solicitation, or sim ilar
                          transactionofanyrealproperty,securityornegotiableinstrumentsortheacquisition
                          of any loan or appropriation or liquidation of any asset for another person or
                          btlsiness.
        ()       (3)      Not engage in telelnarketing activities, to include any telephone sales ora
                          solicitation-related btlsiness calnpaign venturc ortransaction.
        ()       (4)      notmakeapplicationforanyIoanorenterintoanynew creditarrangelnent,without
                          firstconstllting the U.S.Probation Office.
        (X)      (5)      nottransfbr,sellgiveaway,orotherwîsecollveyanyasset,withoutlirstconsulting
                          the U.S.Probation O ftice.
        ()       (6)      notengage in any form ofelnploylnentwhich would allow accessto Gnancial
                          illform ation.to include the follow ing'
                                                                 .personalidentifiers creditaccounts bank
                          accountsofany individual btlsiness,orotherentity.
        ()       (q)      SPECIAL SEX OFFENDER CONDITIONS:
        ()       (1)      registerasasex offenderin accordancewithstateIaw inthecounty ofresidence
                          and providc verification to the U.S.Probation Oftice.
        ()       (2)      participatein sexoffenderand/ormentalhealthtreatl
                                                                          nentasdirected bythe U.S.
                         Probation Office including sublnission to risk assessmcnt and psychological
                         testing.A ssessluentand treatmcntareto beconducted by atherapistapproved in
                         advanceby the U.S.Probation Oftice.
        ()       (3)      haveno contactwithchildren undertheageofeighteen(18)withotltpriorwritten
                         perm issionoftheU.S.ProbationOftice.Any unauthorized contactw illberepol-tcd
                         to the U.S.Probation oftice im mediately.
        ()       (4)     notengage in any occupation business orprofession whereyou haveaccessto
                         children underthe age ofeighteen (18) unless written approvalisreceived in
                         advance by the U.S.Probation Office.
        ()       (5)     notloiterwithinone-hundred(I00)feetofschools parks playgrotlnds.arcades or
                         otherplaccsfrequented bychildrenundertheageofeighteen(18).
        ()       (6)     not possess sexually stilnulating or sexually oriented material asdeemed
                         inappropriate by the U.S.Probation O ftice orpatronize any place wherc such
                         materialand entertainmentisavailable.
        ()       (7)     notenterthe premisesorIoiternearwhere the victim resides,isel
                                                                                     nployed,or
                         frequents,exceptundercirculnstancesapproved in advanceby the U S Probation
                         Office.
        ()       (8)     notsubscribeto oruseany Internetservices.Anyexisting Internetservicesshall
                         beterl ninated imm ediately and documentation provided withintwo weeks.Phonc
                         billsand service agreementsshallbe provided upon requcstofthe U.S.Probation
                         O ftice.
        ()       (r)     SPECIAL COMPUTER RESTRICTION AND MONITORING CONDITIONS:
        ()       (1)     ThedefendantshalldisclosealIe-mailaccounts InternetconnectionsandInternet
                         connection devices,including screen nalnesand passwords,to the U.S.Probation
                         O fticer.The defendantshallilnmediately advisetheU.S. ProbationO f'
                                                                                           ficerofany
                         changes in hisorhere-mailaccountsconnections,devises,orpassword.
        ()       (2)     Ifinstruded bytheU.S.ProbationOfticer,thedefendantshallrefrainfrom using
                         e-mail,an internetconnection oranInternetconnectiondevice.TheU,S.Probation

OrderSettingCondilionsof'Release                   --3 --                             A('
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                         Officershallhave authority to monitoraIIcomputeractivity,to incluclealIe-mail
                         orInternetconnections,toincludebutnotIim itedto installationofremotecomputer
                         m onitoring software.Unlesswaived by theU .S.ProbationOfficer,thecostofthe
                         remote com puterlnonitoring software shallbe paid by thedefendant.
        ()       (3)     Thedefendantsllallnotaccessanyon-lineserviceusinganalias,oraccessanyon-
                         line service using the Internetaccount,name,ordesignation ofanotherperson or
                         entity.The(Iefendantwillreporlimm ediately to the tJ.S.ProbationOfficeraccess
                         to any Interlletsite containing prohibited material.
        ()       (4)     Thc defendant is prohibited from altering or using any form ofencryption,
                         cryptography,stenography,compression,password-protectedGlcsorotllcrm cthods
                         tllatlim itaccessto orchangetheappearance ofdataand/orimages.
        ()       (5)     Thedefendantisprohibitedfroln altering ordestroyingrecordsofcolnputeruse,
                         including the tlse of com putersoftware or functions designed to alter clean or
                         'ûwipe''com puterlnedia blockcomputermonitoring softw are orrestoreacol  nptlter
                         to a previousstate.
        ()       (6)     Ifinstruded,tlledefendantshallprovideallpersonaland businesstelephonephone
                         records and alIoreditcard statelnentsto the U.S.Probation Ofticer.
        ()       (s)     Youareprohibitedfrom engaging.directly orindirectly,in anyform ()fgambling
                         orgal ne ofchance.You shallnotIoiteraboutorenterany dwelling orentcrprise
                         whose principalbusinesspurpose isgam bling orthe offering ofgamesofchance.
                         You shall,atthediscrction ofthe U.S.Probation O fficer,successfully participate
                         ina program ol-mentalhealth treatment,to include butnotlilnited to aprogram for
                         the treatmentofgam bling addiction.
        ()      (t)      OTHER:
                             ADVISE O F PENALTIES AND SANCTIO NS

        V iolation ofany ofthe foregoing conditionsofreleasem ay resultin the im mediate issuance ofa
warrantforDefendant'sarrest,arevocationofrelease,anorderofdetentionasprovidedin18U.S.C.j3l48,
alld aprosecution forcontemptasprovided in 18 U.S.C.j40lwhich could resultin apossibleterm of
inlprisonm entoraGne.Thecomnlission ofany offensewhileonpretrialreleasemay resultinan additional
sentellceuponconviction forsuchoffensetoaterm ofim prisonmentofnotIessthantwoyearsnormorethan
ten years,if-the offense isafelony'
                                  ,ora terln ofimprisonlnentofnotIessthanninety daysnormorethan one
year-iftheoffense isa m isdemeanor.Thissentenceshallbeconsecutiveto any othcrscntence and lntlstbe
ilnposed in addition to the sentence received fbrthe ol-
                                                       f-
                                                        ense itself.

       18U.S.C.j 1503 makesitacriminaloffense,punishableby uptofiveyearsofimprisonmentand
a$250,000fine,to intimidateorattemptto intimidateawitness,jurororofficerofthecourt. 18U.S.C.j
15l0 m akes ita crim inaloffense,punishable by up to five yearsofimprisonmentand a $250,000 fine,to
obstructacriminalinvestigation.I8U.S.C.j15l2makesitacriminaloffense,punishablebyuptotenyears
of'ilnprisonmentanda$250,000fine,totamperwithawitlless,victim orinformant.l8U.S.C.jl513makes
itacrim inaloffense,punishableby up totenyearsofimprisonmentand a $250,000 fine,to retaliateagainst
awitness-victil
              n orinformant,orthreatenorattemptto do so. ltisacriminaloffensetlnderl8 U.S.C.j
3)46,ifaherhaving been released,Defendantknow ingly failsto appearasrequired by theconditionsof'
release,orto stlrrender forthe service ofsentence pursuantto a courtorder. IfDefendantis released in
cfynnection with acharge of.orwhileawaitingsentencing,surrenderforthe selwiceofasentence,orappeal
o1'c'
    ertiorariafterconviction for:
        (l)     an offensepunishable by death,life ilnprisonlnent,orimprisonmentforaterm oftifteen
                yearsorInore, Det
                                kndantshallbefined notmorethan$250,000 orilnprisoned filrnotlnore
                than tcn years,orboth;
        (2)     anoffensepunisllablebyimprisonmentforaterm offiveyearsormore,butIessthanfifteen
                years,Defendantshallbetinednotmorethan$250,000orimprisonedfornotmorethanfive
                l'
                 ears,orboth'


OldcrScttingConditionsofRelease                   --4 --                            A()-199Modil
                                                                                               ied(7/09)
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        (3)      anyotherfelony,DefendantshallbeGnednotmorethan$250,000orimprisonednotmore
                 than two years,orboth'
        (4)      amisdemeanor,DefbndantshallbeGnednotmorethan$100,000 oril
                                                                         uprisoned notmore
                than one year,orboth.
A term ofilnprisonmentim poscd forfailureto appearorsurrendershallbe consecutiveto the sentence of
ilnprisonm entforany otheroffense. In addition,afailtlre to appearmay resultin the forfeitureofany bail
posted.
                             A CK N O W LED G M EN T O F D E FE N D A N T

        1acknowletlgethat1am thedefelldanti thiscaseandthatIam awareoftheconditionsofrelease.
Iprom iseto obey a conditio sofreI se to peajz'
                                              asdirected and to stlrrenderforserviceofanysentence
im posed. I ln      re oftl1     nalt' and nctionssetforth above.


          nda ivolsi
        Cleveland,OK


                          D IR E C TIO N S TO UN IT ED STA TE S M A R SH A L

        (X)      DefendantisORDERED released afterprocessing.
        ()       TheUnitedStatesM arshalisORDERED tokeepDefendantincustodyuntilnotifiedbythe
                 clerk orajudicialofficerthatDefendanthasposted bond and/orcompliedwithallother
                 conditionsforrelease.Defendantshallbeproducedbeforetheappropriatejudicialofficer
                 atthe tilne and place specitied,ifstillin custody.


Date:Decelnber9,20l0

                                                 Frank H.M ccarthy
                                                 United StatesM agistrate Judge




OrderSeuingConditionsofRelease                    --5 --                          Af)-I99Moditied(5/07)
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..
                Case
       : (Itev.0l/09) ss'a2:10-cr-00578-APG-GWF
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                                   NITED STATES D ISTRICT                            O URT
                                                          for the
                                               Northern DistrictofDistrict

               United StatesofAmerica                       )
                          !p.                               )
                                                            )       CaseNo. 1t&mj-156-FHM

                      Li                                    )
                       nda Livolsi                          )       ChargingDistrict'sCaseNo.2:10-c1--578
                       /):r
                          z/'
                            t?;ltlttttt                     )
                                          W AIVER O F RULE 5 & 5.1 HEARING S
                                                (ComplaintorIndictment)
        lunderstand thatI have been charged in anotherdistrictsthe (nameoyother Nevada
court
    )
        lhave been inform ed ()fthe chargesand ofm y rightsto:
        (1)       retain counselorrequesttheassignmentofcounselifIam unabletoretain counsel;
        (2)       an identity hearingtodeterminewhetherIam theperson nam ed inthecharges;
        (3)      productionofthewarrant,acertified copyofthewarrant.ora reliableelectroniccopy ofeither;
        (4)      a preliminanrhcaringwithin 10 daysofmyfirstappearanceifIam in custody and 20days
othenvise
                  unlesslam indicted        to determ ine whetherthereis probable cause to believe thatan offense has
                  been com m itted;
        (5)      a hearingonanymotion bythegovernmentfordetention;
        (6)      requesttransferofthe proceedingsto thisdistrictunderFed.R.Crim.P.20,to plead guilty.
        Iagreetowaivemy rightts)to:
                  an identit'
                            y hearing and production ofthew arrant.
        I
        D         a prelim inary hearing.
        I
        L'
         I        a detention hearing.
                  an identity hearing,production ofthew arrant,and any prelim inary or detention hearing to
             w hich Im ay
                  beentitled in thisdistrict. Irequestthatthose hearingsbe held in the prosecutillg district,ata
             tim eset       by tllatcourt.

      Iconsentto the issuance ofan order requiring m y ppearance in the prosecuting di ictw here thc
chargesllre pending againstm e.                                                      k

Date: .? f 4
           f zs
                                                                             De iTa:ant'sq
                                                                                         Wg/?tz/IzrE'



                                                                       Signaturezz
                                                                                 -ft
                                                                                   /e./paz/rza/'sattorney
                                                                                   r

                                                                        eo                 zw      /..
                                                                                                     a
                                                                     Prihtedatzzz'
                                                                                 lettfdçfendant'
                                                                                               yattorney

        Rlll
           e5Letter                                       -- 1 --                                           (-1
                                                                                                              4-23(10/06)
